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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

                                                    Civil Action No: 5:21-cv-172
 SANTANDER CONSUMER USA, INC.,

        Plaintiff,

                 v.

 THE CITY OF SAN ANTONIO, ALANIS
 WRECKER SERVICE, LLC AND
 ALEJANDRO ALANIS,

        Defendants.


    CONSENT MOTION BY SANTANDER SCONSUMER USA, INC. TO EXTEND
  BRIEFINIG SCHEDULE FOR DISPOSITIVE MOTION OPPOSITION AND REPLY
         PAPERS, PRETRIAL CONFERENCE DATE, AND TRIAL DATE

       NOW COME, Santander Consumer USA, Inc. (“Santander” or “Plaintiff”), with the

consent of The City of San Antonio (“San Antonio”), Alanis Wrecker Service, LLC

(“Wrecker”), and Alejandro Alanis (“Alanis”) (collectively, “Defendants”), files this Motion to

Extend the Dispositive Motion Deadline, the Pretrial Conference Date, and the Trial Date

(“Santander’s Motion to Extend”).

       1.       On February 24, 2021, Santander initiated this action against Defendants for

violation of its civil rights under 42 U.S.C. § 1983 and §1988 and other related claims.

       2.       The case is scheduled for trial on December 12, 2022 and a pretrial conference is

scheduled for November 30, 2022.

       3.       Currently pending are Santander’s motion for summary judgment [ECF Doc. No.

61], Wrecker’s and Alanis’s motion for summary judgment [ECF Doc. No. 62], and San Antonio’s

motion for summary judgment [ECF Doc. No. 63].




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        4.       The parties have conferred regarding the remaining briefs due on the

aforementioned motions. Because of various counsel’s trial and travel schedules, as well as

upcoming holidays, the parties consent to, and jointly request that the Court grant, the following

extension of the briefing schedule for the summary judgment motions as follows:

              a. All parties’ opposition papers to be filed on or before November 16, 2022; and

              b. All parties’ reply papers to be filed on or before December 9, 2022.

        5.       This schedule would bring the due dates for briefing past the date scheduled for a

pre-trial conference and within 3 days of the date of trial. Because all parties appear to agree there

to be a likelihood the Court can adjudicate this matter on summary judgment, the parties also

request the Court adjourn the pre-trial conference and trial dates accordingly.

        6.       Santander proposes a ninety (90) day extension of the pre-trial conference to

February 28, 2023.

        7.       Santander proposes a ninety-one (91) day extension of the trial to March 13,

2023.

        WHEREFORE, Plaintiff respectfully asks the Court to grant its Motion.

Dated: October 10, 2022                                Respectfully submitted,

                                                       NORRIS McLAUGHLIN P.A.
                                                       Attorneys for Plaintiff

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on October 10, 2022, the foregoing document was electronically

filed with the Clerk of Court using the CM/ECF system, which will send notification to all

counsel of record.




                                                    /s/ Nicholas A. Duston
                                                        Nicholas A. Duston




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